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B 1 (Official Form 1) (1/08)

 

United States Bankruptcy Court

District of Delaware

 

 

 

 

Name of Debtor (if individual, enter Last, First, Middle):
Indalex Holdings Finance, Inc.

Name of Joint Debtor (Spouse) (Last, First, Middle):
N/A

 

All Other Names used by the Debtor in the last 8 years
(include married, maiden, and trade names):
None

All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):
N/A

 

Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all): XX-XXXXXXX

 

Last four digits of Soc. Sec. or Individual-Taxpayer LD. (ITIN) No./Complete EIN
(if more than one, state all):
N/A

 

 

Street Address of Debtor (No. and Street, City, and State):
75 Tri-State International, Suite 450
Lincolnshire, IL

[zip CODE 60069 |

Street Address of Joint Debtor (No. and Street, City, and State):
N/A

[ ZIP CODE |

 

 

County of Residence or of the Principal Place of Business:
Lake County

County of Residence or of the Principal Place of Business:
N/A

 

 

Mailing Address of Debtor (if different from street address):
N/A

[zIP CODE |

 

 

Mailing Address of Joint Debtor (if different from street address):
N/A

| ZIP CODE |

 

Location of Principal Assets of Business Debtor (if different from street address above):

 

 

 

 

 

 

attach signed application for the court's consideration. See Official Form 3B.

Full Filing Fee attached.

0 _sFiling Fee to be paid in installments (applicable to individuals only). Must attach
signed application for the court's consideration certifying that the debtor is
unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.

(1 _sFiling Fee waiver requested (applicable to chapter 7 individuals only). Must

N/A | ZIP CODE
Type of Debtor Nature of Business Chapter of Bankruptcy Code Under Which
(Form of Organization) (Check one box.) the Petition is Filed (Check one box.)
(Check one box.) H Health Care Business Os Chapter7 (Chapter 15 Petition for
O Individual (includes Joint Debtors) Single Asset Real Estate as defined in 1 Chapter 9 Recognition of a Foreign
See Exhibit D on page 2 of this form 11 U.S.C. § 101(51B) & = Chapter 11 Main Proceeding
&] Corporation (includes LLC and LLP) H gailroad x [] = Chapter 12 C1 Chapter 15 Petition for
H Partnership ; . I Commodity Broker Os Chapter 13 Recognition ofa Foreign
Other (If debtor is not one of the above entities, [)  Clearin By ‘ank Nonmain Proceeding
check this box and state type of entity below.) Ba Other 8
Nature of Debts
Holding Company (Check one box.)
OO Debts are primarily consumer, [dq Debts are primarily
debts defined in 11 U.S.C. business debts
Tax-Exempt Entity § 101(8) as "incurred by an
(Check box, if applicable.) individual primarily for a
(1 Debtor is a tax-exempt organization personal, family, or house-
under Title 26 of the United States hold purpose."
Code (the Internal Revenue Code).
Filing Fee (Check one box.) Chapter 11 Debtors

 

Check one box:
[1 Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).

&] Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).

Check if:
(1 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
insiders or affiliates) are less than $2,190,000.

 

Check all applicable boxes:
A plan is being filed with this petition.
Acceptances of the plan were solicited prepetition from one or more classes
of creditors, in accordance with 11 U.S.C. § 1126(b).

 

 

 

 

 

Statistical/Administrative Information THIS SPACE IS
Debtor estimates that funds will be available for distribution to unsecured creditors. FOR COURT USE
oO “Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for distribution ONLY
to unsecured creditors.
Estimated Number of Creditors
O O O O O O O
1-49 50-99 100-199 200-999 1,000- 5,001- 10,001- 25,001- 50,001- Over
5,000 10,000 25,000 50,000 100,000 100,000
Estimated Assets (reported on a consolidated basis, at book value)
O O O O Xl O oO
$0 to $10,001 to $100,001 to $500,001 $1,000,001 $10,000,001 $50,000,001 $100,000,001 $500,000,001 More than
$50,000 $100,000 $500,000 to $1 to $10 to $50 to $100 to $500 to $1 billion $1 billion
million million million million million
Estimated Liabilities (reported on a consolidated basis)
O O O O XI O O
$0 to $10,001 to $100,001 to $500,001 $1,000,001 $10,000,001 $50,000,001 $100,000,001 $500,000,001 More than
$50,000 $100,000 $500,000 to $1 to $10 to $50 to $100 to $500 to $1 billion $1 billion
million million million million million

 

 

 

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B 1 (Official Form 1) (1/08)

Voluntary Petition Name of Debtor(s):
(This page must be completed and filed in every case.)

 

Indalex Holdings Finance, Inc.

 

All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)

 

 

Location Case Number: Date Filed:
Where Filed: None
Location . Case Number: Date Filed:

Where Filed: N/A

 

Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.)

 

Name of Debtor: See Schedule 1 Case Number: To be assigned. Date Filed: Concurrent

 

 

District: Delaware Relationship: Affiliate Judge: To be assigned.

 

Exhibit A Exhibit B

(To be completed if debtor is required to file periodic reports (e.g., forms 10K and re be completed if center is an indivi
10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d) whose debts are primarily consumer debts.)

of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.) I, the attorney for the petitioner named in the foregoing petition, declare that I
have informed the petitioner that [he or she] may proceed under chapter 7, 11,

12, or 13 of title 11, United States Code, and have explained the relief
available under each such chapter. I further certify that I have delivered to the
debtor the notice required by 11 U.S.C. § 342(b).

x
x] Exhibit A is attached and made a part of this petition. Signature of Attorney for Debtor(s) (Wate)

 

 

 

Exhibit C
Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

C Yes, and Exhibit C is attached and made a part of this petition.

Xx] No.

 

Exhibit D
(To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
[| Exhibit D completed and signed by the debtor is attached and made a part of this petition.
If this is a joint petition:

[_] Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

 

Information Regarding the Debtor - Venue
(Check any applicable box.)

Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other District.

x]

There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

DO &

Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or
has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in
this District, or the interests of the parties will be served in regard to the relief sought in this District.

 

Certification by a Debtor Who Resides as a Tenant of Residential Property
(Check all applicable boxes.)

LC Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)

 

(Name of landlord that obtained judgment)

 

(Address of landlord)

OD

Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

OD

Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the
filing of the petition.

CI Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(1)).

 

 

 

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Page 3

 

Voluntary Petition
(This page must be completed and filed in every case.)

Name of Debtor(s):

Indalex Holdings Finance, Inc.

 

Signatures

 

Signature(s) of Debtor(s) (Individual/Joint)

I declare under penalty of perjury thatthe information provided in this petition is true
and correct.

[IE petitioner is an individual whose debts are primarily consumer debts and has
chosen to file under chapter 7] ] am aware that I may proceed under chapter 7, 11, 12
or 13 of title 11, United States Code, understand the relief available under each such
chapter, and choose to proceed under chapter 7.

[if no attomey represents me and no bankruptcy petition preparer signs the petition] 1
have obtained and read the notice required by 11 U.S.C. § 342(b).

I request relief in accordance with tlie chapter of title 11, United States Code,
specified in this petition.

 

 

 

 

Signature of a Foreign Representative

I declare under penalty of perjury that the information provided in this petition is true
and correct, that 1 am the foreign representative of a debtor in a foreign proceeding,
and that J am authorized to file this petition.

(Check only one box.)

oO I request relicf in accordance with chapter 15 of title 11, United States Code.
Certified copies of the documents required by 11 U.S.C. § 1515 are attached,

oO Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
chapter of title 11 specified in this petition. A certified copy of the
order granting recognition of the foreign main proceeding is attached.

 

 

 

 

 

Sigrature of Attomey for Debtor(s)
ichael R, Nestor

Printed Name of Attorney for Debtor(s)

Young Conaway Stargatt & Taylor, LLP

Firm Name

The Brandywine Building

Address

1000 West Street, 17th Floor

Wilmington, DE 19801

302-571-6600

Telephone Number

March ZO , 2009

Date

certification that the attorney has no knowledge after an inquiry that the information
in the schedules is incorrect, ,
Signature of Debtor (Corporation/Partnership)

and correct, and that I have been aitthorized to file this petition on behalf of the
debtor. , ;

  
 
  
  

The debtor{requests tcordance with the chapter of title 11, United States

Code, specified in thispgtiti
x ! Z
Signature of Authorized Individial
Timothy R.J. Stubbs

Printed Name of Authorized Individual
President and Chief Executive Officer
Title of Authorized Individual

March 7c , 2009

Date

 

; ¥[ri'a'case in which § 707(b)(4)(D) applies, this signature also constitutesa ~~

I declare under penalty of perjury thatthe information provided in this petition is true |

 

x x

Signature of Debtor (Signature of Foreign Representative)
K

Signature of Joint Debtor (Printed Name of Foreign Representative)

Telephone Number (ifnot represented by attorney) Date

‘Date oo

Loz 1
CY Signature of Attorney* Signature of Non-Attorney Bankruptcy Petition Preparer
x J a I declare under penalty of perjury that; (1) I am a bankruptcy petition preparer as
defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have

provided the debtor with a copy of this document and the notices and information
required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or
guidelines have been promulgated pursuant to 1] U.S.C. § 110(h) setting a maximum
fee for services chatgeable by bankruptcy petition preparers, I have given the debtor
notice of the maximum amount before preparing any document for filing for a debtor
or accepting any fee from the debtor, as required in that section, Official Form 19 is
attached.

 

Printed Name and title, ifany, of Bankruptcy Petition Preparer

 

Sooial-Security number (if the bankruptcy petition preparer is not an individual,
state the Social-Security number of the officer, principal, responsible person or
partner of the bankruptcy petition preparcr.) (Required by 11 U.S.C. § 110,)

 

Address

 

 

 

Date

Signature of bankruptcy petition preparer or officer, principal, responsible person, or
partner whose Social-Security number is provided above.

Names and Soeial-Security numbers of ali other individuals who prepared or assisted
in preparing this document unless the bankruptcy petition preparer is not an-
-individual,

If more than one person prepared this document, attach additional sheets conforming
to the appropriate official form for each person. ,

A bankruptcy petition preparer’s failure to comply with the provisions of title LI and
the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or
both, 11 U.S.C. § 110; 18 U.S.C. § 156, :

 

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

Chapter 11
In re:

Case No. 09- Cs)
INDALEX HOLDINGS FINANCE, INC.,
a Delaware Corporation, et al.,' (Joint Administration Requested)

Debtors.

 

EXHIBIT “A” TO VOLUNTARY PETITION OF
INDALEX HOLDINGS FINANCE, INC.”

1. If any of the Indalex Holdings Finance, Inc.’s (“Indalex Finance”)
securities are registered under Section 12 of the Securities and Exchange Act of 1934, the SEC
file number is 333-138178.

2. The following financial data (which is consolidated among all the Debtors
and certain non-debtor affiliates) is the latest available unaudited information on the Debtors’
condition as of December 31, 2008.

a. Total assets $ 356,000,000
b. Total debts (including debts listed in 2.c., below) $ 456,000,000

c. None of Debtors’ debt obligations are held by more than 500 record
holders. .

d. As of December 31, 2008, Indalex Finance has 1,000,114 shares of
common stock issued and outstanding.

 

I The Debtors in these cases and their tax identification numbers are: Indalex Holdings Finance, Inc. (XX-

XXX0880), Indalex Holding Corp. (XX-XXX0715) (“Indalex Holding”), Indalex Inc. (XX-XXX7362) (“Indalex
Inc.”), Caradon Lebanon, Inc. (XX-XXX1208) (“Caradon”), and Dolton Aluminum Company, Inc. (XX-XXX2781)
(“Dolton”). The business address for all of the Debtors is 75 Tri-State International, Suite 450, Lincolnshire, IL
60069.

 

2

The following financial data shall not constitute an admission of liability by the Debtors. The Debtors
reserve all rights to assert that any debt or claim listed herein as liquidated or fixed is in fact a disputed claim or
debt. The Debtors also reserve all rights to challenge the priority, nature, amount or status of a claim or debt.

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3. The following persons directly or indirectly own, control, or hold, with
power to vote, 5% or more of the voting securities of Indalex Finance:*

Indalex Finance
5% Shareholders

Shareholder Name Number of Shares
Sun Indalex, LLC‘ 904,061

 

 

 

 

 

 

3 The determination that there were no other persons known to the Debtors to beneficially own 5% or more

of Indalex Finance voting securities was based on a review of all statements filed with the U.S. Securities and
Exchange Commission with respect to Indalex Finance pursuant to Section 13(d) or 13(g) of the Securities
Exchange Act of 1934, as amended, since the beginning of Indalex Finance’s fiscal year.

4 Sun Indalex, LLC owns 100% of the voting common stock., which may be deemed beneficially owned

within the meaning of Rule 13d-3 of the Exchange Act by Marc J. Leder and Rodger R. Krouse and also by Sun
Indalex, LLC, a Delaware limited liability company (‘‘Sun Indalex’’), Sun Capital Parmers IV, LP, a Delaware
limited partnership (‘‘Fund IV’’), Sun Capital Partners III, LP, a Delaware limited partnership (‘‘Fund JII’’), Sun
Capital Partners III QP, LP, a Delaware limited parmership (‘‘Fund III QP’’), Sun Capital Advisors IV, LP, a
Delaware limited partnership (‘‘Advisors IV’’), Sun Capital Advisors III, LP, a Delaware limited partnership
(‘‘Advisors III’’), Sun Capital Partners IV, LLC, a Delaware limited liability company (‘‘Partners IV’’) and Sun
Capital Partners ITI, LLC, a Delaware limited liability company (‘‘Partners III’’). Messrs. Leder and Krouse may
each be deemed to control Sun Indalex, Fund IV, Advisors IV and Partners IV, as Messrs. Leder and Krouse each
own 50% of the membership interests in Partners IV, which in turn is the general partner of Advisors IV, which in
turn is the general partner of Fund IV, which in turn owns 50% of the membership interests of Sun Indalex. Messrs.
Leder and Krouse may also each be deemed to control Sun Indalex, Fund III, Fund II QP, Advisors III and Partners
III, as Messrs. Leder and Krouse each own 50% of the membership interests in Partners III, which in turn is the
general partner of Advisors III, which in turn is the general partmer of Fund II and Fund III QP, which in turn own,
collectively, 50% of the membership interests of Sun Indalex. Fund IV, Fund III, Fund III QP, Advisors IV,

- Advisors III, Partners IV, Partners III, Sun Indalex and Messrs. Leder and Krouse have shared voting and
investment power over these shares. Except as to such shared voting power, Fund IV, Fund III, Fund IIT QP,
Advisors IV, Advisors III, Partners IV, Partners III, Sun Indalex and Messrs. Leder and Krouse disclaim beneficial
ownership of these shares. The address of Sun Indalex, LLC and Messrs. Leder and Krouse is 5200 Town Center
Circle, Suite 470, Boca Raton, FL 33486.

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SCHEDULE 1

Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

On the date hereof, Indalex Holdings Finance, Inc. and each of the affiliated entities
listed below filed in this Court a petition for relief under chapter 11 of title 11 of the United
States Code. Contemporaneously with the filing of these petitions, these entities filed a motion
requesting that the Court administratively consolidate for procedural purposes only and jointly
administer their chapter 11 cases.

Indalex Holding Corp.
Indalex Inc.
Caradon Lebanon, Inc.
Dolton Aluminum Company, Inc.

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

Chapter 11
In re:

Case No. 09- (C_)
INDALEX HOLDINGS FINANCE, INC.,
a Delaware Corporation, ef al.,' (Joint Administration Requested)

Debtors.

 

LIST OF CREDITORS HOLDING
THIRTY (30) LARGEST UNSECURED CLAIMS

Following is the list of the Debtors’ creditors holding the thirty (30) largest
unsecured claims.” The list has been prepared on a consolidated basis, based upon the
consolidated books and records of the Debtor and its affiliates that also commenced a case under
chapter 11 of title 11 of the United States Code on the date hereof (collectively, the “Debtors”).

Except as set forth above, the list of creditors has been prepared in accordance
with Rule 1007(d) of the Federal Rules of Bankruptcy Procedure. This list does not include
(i) persons who come within the definition of “insider” set forth in section 101(31) of title 11 of
the United States Code or (ii) secured creditors unless the value of the collateral is such that the
unsecured deficiency places the creditor among the holders of the largest unsecured claims.

 

 

 

    

    

 

ALBA ALUM. BAHRAIN | P.O. Box 20079 Trade _ $7,133,855

B.S.C. (C) Manama,
. Kingdom of Bahrain

Phone: 9-731-783-5053
Fax: 9-731-783-0958

 

 

 

 

 

 

 

} The Debtors in these cases and their tax identification numbers are: Indalex Holdings Finance, Inc. (XX-
XXX0880), Indalex Holding Corp. (XX-XXX0715) (“Indalex Holding”), Indalex Inc. (XX-XXX7362) (“Indalex
Inc.”), Caradon Lebanon, Inc. (XX-XXX1208) (“Caradon”), and Dolton Aluminum Company, Inc. (XX-XXX2781)
(“Dolton”). The business address for all of the Debtors is 75 Tri-State International, Suite 450, Lincolnshire, IL
60069.

2 This information herein shall not constitute an admission of liability by, nor is it binding on, the Debtors.

3 All claims may be subject to offsets, discounts, reconciliations, credits, and adjustments, which are not

reflected on this list.

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TO.

 

 

 

 

ALCOA INC.

Attn: Robin

P.O. Box 360035M
Pittsburgh, PA 15251
Phone: 724-337-5816
Fax: 724-339-6702

$6,012,710

 

RIO TINTO ALCAN

P.O. Box 100152
Pasadena, CA 91189-0152
Phone: 514-847-3574
Fax: 514-848-1463

Trade

$5,000,000

 

SCHOLZ ALUMINUM GmbH

Attn: Oscar Penin

Eural KFT

Tatabanya, Hungary

Phone: 36-34-511-290/317-217
Fax: 36-34-510-700/311-958

Trade

$2,499,350

 

ASIA ALUMINUM MFG

Attn: James Zhou

12/F, Railway Plaza

39 Chatham Road, South
Tsimshatsui, Hong Kong
Phone: 852-2789-0200
Fax: 852-2398-1808

Trade

$1,834,703

 

TRENDSET INC.

4 Interchange Blvd.
Greenville, SC 29607
Phone: 864-297-9255
Fax: 864-272-3203

Trade

$1,227,029

 

PRESS METAL
INTERNATIONAL

Area C Sanshui Industrial Park
Sanshui District

Foshan City, GD

China 528137

Phone: 86-757-873-6333

Fax: 86-757-873-6398

Trade

$1,079,618

 

CONOCO RESOURCES Co.,
LTD.

2221 Edge Lake Dr., Suite 110
Charlotte, NC 28217

Phone: 704-329-0300

Fax: 704-329-0302

Trade

$1,029,000

 

 

EXCO EXTRUSION DIES,
INC.

 

P.O. Box 399

New Baltimore, MI 48047-0399
Phone: 586-749-5400

Fax: 586-749-7360

 

' Trade

 

 

$720,591

 

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OHIO VALLEY ALUMINUM
CO., LLC

P.O. Box 640583
Cincinnati, OH 45264-0583
Phone: 502-633-2783

Fax: 502-633-0589

Trade

$600,000

 

AIM DEDICATED
LOGISTICS |

1500 Trumbull Rd.
Girard, OH 44420
Phone: 330-759-0438
Fax: 330-759-3721

Trade

$552,000

 

SOUTHEASTERN
EXTRUSION TOOL, INC.

P.O. Box 2218
Florence, AL 35630
Phone: 256-766-6421
Fax: 256-766-1039

Trade

$420,000

 

PPG INDUSTRIES INC

P.O. Box 360175
Pittsburgh, PA 15251-6175
Phone: 724-274-7900

Fax: 412-434-2011

Trade

$415,000

 

METAL EXCHANGE CORP.

Attn: Jon Wiechel
P.O. Box 7446M

St. Louis, MO 63195
Phone: 314-434-3500
Fax: 314-343-2196

Trade

$350,000

 

J.B. HUNT TRANSPORT INC.

P.O. Box 98545:
Chicago, IL 60693-8545
Phone: 574-266-6583
Fax: 501-659-6297

Trade

$314,000

 

ALEXIN LLC

Attn: Neil Johnson
1390 South Adams St.
Bluffton, IN 46714
Phone: 260-846-0743
Fax: 260-846-0740

Trade

$272,000

 

 

HAO MEI ALUMINUM CoO.,
LTD.

 

Room 1004 10/F

CC Wu Building
302-308 Hennessey Rd.
Wanchai, Hong Kong
Phone: 852-274-58028
Fax: 852-310-19996

 

Trade

 

 

$240,774

 

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“oO

 

 

 

Name, telephone number
mailing address, includin

 

~ AIM NATIONAL LEASING

1500 Trumbull Rd.
Girard, OH 44420
Phone: 330-759-0438
Fax: 330-759-3721

$240,000

 

THUMB TOOL &
ENGINEERING

P.O. Box 324

Bad Axe, MI 48413-0324
Phone: 989-269-9731
Fax: 989-269-6523

Trade

$219,000

 

NL VENTURES VI
INDUSTRY, LLC

Attn: Brenda Laminack
8080 N. Central Expressway
Suite 1220

Dallas, TX 75206

Phone: 214-292-4270

Fax: 214-363-4968

Trade

$207,182

 

PROTIVITI

120 S. LaSalle, 22nd Floor
Chicago, IL 60603

Phone: 312-476-6050
Fax: 312-332-6012

Trade

$201,000

 

SCHUPAN AND SONS, INC

Dept. 771083

P.O. Box 77000
Detroit, MI 48277-1083
Phone: 800-531-3434
Fax: 800-397-0177

Trade

$189,000

 

VOGEN FUNDING LP

Attn: Richard Bollinger

10 S. Wacker Drive, suite 1840
Chicago, IL 60606

Phone: 312-893-7413

Fax: 858-225-3495

Trade

$182,950

 

BAX GLOBAL INC

Dept. LA 21047
Pasadena, CA

Phone: 714-752-1212
Fax: 714-442-2900

Trade

$150,029

 

 

GEISINGER HEALTH PLAN

P.O. Box 827511
Philadelphia, PA 19182-7511
Phone: 800-554-4907

Fax: 570-271-7218

 

 

Trade

 

 

$141,514

 

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FG)

 

- Name of creditor and complete. |.

 

din

 

lovee, agent ¢
editor familia
ta

Nature of claim|

 

 

AKZO NOBEL COATINGS
INC.

Attn: Leeann Craycaft
P.O. Box 905180
Charlotte, NC 28290-5180
Phone: 800-274-4266
Fax: 502-375-5475

$140,000

 

BRITE ELECTRIC, INC.

P.O. Box 1190

Granger, IN 46530-1190
Phone: 574-679-6446
Fax: 574-679-9448

Trade

$136,766

 

MICHIANA INDUSTRIAL
MAINTENANCE

56545 Twin Branch Drive
Suite A

Mishawaka, IN 46545
Phone: 574-255-0005
Fax: 574-255-0002

Trade

$136,474

 

WILHEIT PACKAGING

P.O. Box 111
Gainesville, GA 30503
Phone: 770-532-4421
Fax: 770-532-8956

Trade

$130,827

 

CHOREY, TAYLOR & FEIL,
PC

The Lenox Building
Suite 1700

Atlanta, GA 30326
Phone: 404-841-3200
Fax: 404-841-3221

Legal

$128,000

 

 

R.L. BEST COMPANY

 

Attn: Bill Kavanaugh
723 Bev Road
Boardman, OH 44512
Phone: 330-758-8601
Fax: 330-758-9413

 

Trade

 

 

$124,000

 

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

Chapter 11
In re:

Case No. 09- a)
INDALEX HOLDINGS FINANCE, INC.,
a Delaware Corporation, ef al.,' (Joint Administration Requested)

Debtors.

 

DECLARATION REGARDING CONSOLIDATED LIST OF
CREDITORS HOLDING THIRTY (30) LARGEST UNSECURED CLAIMS

The debtors in these Chapter 11 cases (together, the “Debtors”) each filed a petition in this
court on or about the date hereof for relief under Chapter 11 of the United States Bankruptcy Code. The
consolidated list of creditors holding the thirty (30) largest unsecured claims, submitted herewith, is
complete and to the best of my knowledge correct and consistent with the Debtors’ books and records.

The information contained herein is based upon a review of the Debtors’ books and
records. However, no comprehensive legal or factual investigation with regard to the accuracy of the
information or possible defenses to the claims has been pursued. Therefore, this listing does not stand and
should not be deemed to constitute: (1) an acknowledgement of the accuracy of the identity of any such
creditor or the amount of such claim of any particular claim holder: (2) an acknowledgement of the

allowability of any listed claim; or (3) waiver of any right or legal position of the Debtors.

 

' The Debtors in these cases and their tax identification numbers are: Indalex Holdings Finance, Inc. (XX-~

XXX0880), Indalex Holding Corp. (XX-XXX0715) (“Indalex Holding”), Indalex Inc. (XX-XXX7362) (“Indalex
Inc.”), Caradon Lebanon, Inc. (XX-XXX1208) (“Caradon”), and Dolton Aluminum Company, Inc. (XX-XXX2781)
(“Dolton”). The business address for all of the Debtors is 75 Tri-State International, Suite 450, Lincolnshire, IL
60069,

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Dated: March7, 2009 \

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I declare under penalty of perjury thaftheforegoing is true and correct.

   
 

 

Timothy R.J. Stubbs

President and Chief Executive Officer

Jndalex Holdings Finance, Inc., Indalex Holding Corp.,
Indalex Inc., Caradon Lebanon, Inc., and Dolton
Aluminum Company, Inc.

 

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re:

Chapter 11

Case No. 09- ( )

INDALEX HOLDINGS FINANCE, INC.,

a Delaware Corporation, et al.,'

(Joint Administration Requested)

Debtors.

 

LIST OF EQUITY SECURITY HOLDERS

 

 

 

 

 

 

 

 

 

 

 

 

Name Address %
c/o Sun Capital Partners, 5200 Town Center Circle,

Sun Indalex, LLC Suite 600, Boca Raton, FL 33486 90.396%
c/o Ryan Boucher, 32 Old Slip, 21* Floor,

Indalex Co-Investment, LLC New York, NY 10005 8.997%

Gary Talarico 40-50 East 10" Street, Apt 7H, New York, NY 10003 0.150%

Timothy Stubbs 1018 Sheridan Rd., Evanston, IL 60202 0.090%
c/o Valerie Serrano, 1001 Brickell Bay Drive, 27"

H.1.G. Sun Partners, Inc. Floor, Miami, FL 33131 0.082%
c/o Sun Capital Partners, 5200 Town Center Circle,

Mike Alger Suite 600, Boca Raton, FL 33486 0.067%

Ron Nelson 3750 Villa Rosa Dr., Canfield, OH 44406 0.040%

Jerry Nies 7035 Laurel Oak Dr., Suwanee, GA 30024 0.018%

Joe Valvo 6600 Covington Cove, Canfield, OH 44406 0.018%

Mike Faust 1351 Pebble Dr., Graham, NC 27253 0.013%

Karen MacMillan 3414 Eglinton Ave. W, Mississauga, ON L5M 7P2 0.013%

 

 

 

 

 

 

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Name Address %

Bill Corley 10825 S. Kolmar, Oak Lawn, IL 60453 0.011%
Bill Wainio 4730 Michigan Blvd., Youngstown, OH 44505 0.011%
Dale Prows 21377 Windsor Dr., Kildeer, IL 60047 0.009%
Jim Piperato 4603 Quailwood Ct., Flowery Branch, GA 30542 0.009%
Keith Burlingame 839 Night Fire Dr., Dawsonville, GA 30534 0.009%
Pat Wooley 23799 Greenleaf Blvd., Elkhart, IN 46514 0.009%
Bill Peterson 1813 Maywood Ct., Marco Island, FL 34145 0.009%
Chris Hammond 2380 Millwater Cross, Dacula, GA 30019 0.009%
Scott Williams 1370 W. Crystal St., #3, Chicago, IL 60642 0.009%
Treasury (Treasury Stock) 0.009%
Arthur Osborn 4446 Cornerstone Dr., Burlington, NC 27215 0.009%
Jerrod Hoeft 15824 Fairbanks Court, Granger, IN 46530 0.009%
Glenn Oken 101 S. Franklin St., Suite 205, Tampa, FL 33602 0.004%

 

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

Chapter 11
In re:

Case No. 09- a)
INDALEX HOLDINGS FINANCE, INC,,
a Delaware Corporation, et al.,’ (Joint Administration Requested)

Debtors.

 

DECLARATION REGARDIN G LIST OF EQUITY SECURITY HOLDERS
I, Timothy R.J. Stubbs, President and Chief Executive Officer of each of the above-

captioned debtors and debtors in possession, declare under penalty of perjury that I have read the List of
Equity Security Holders submitted herewith and that it is true and correct to the best of my information and
belief and will be supplemented to the extent additional information regarding equity security holders
becomes available.
Dated: March 712 2009

; i \ A
Timothy R.J. Stubbs
President and Chief Executive Officer
Indalex Holdings Finance, Inc., Indalex Holding Corp.,

Indalex Inc., Caradon Lebanon, Inc., and Dolton” ©
Aluminum Company, Inc.

 

 

 

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RESOLUTIONS OF THE
BOARD OF DIRECTORS OF
INDALEX HOLDINGS FINANCE, INC.

WHEREAS, the Board of Directors of Indalex Holdings Finance, Inc., a
Delaware corporation (the “Company”), have reviewed and considered the financial and
operational condition of the Company and the Company’s business on the date hereof, including
the historical performance of the Company, the assets of the Company, the current and long-term
liabilities of the Company, the market for the Company’s products and services, and credit
market conditions; and

NOW, THEREFORE, BE IT RESOLVED that, in the judgment of the Board of
Directors, it is desirable and in the best interests of the Company, its creditors, stockholders and
other interested parties, that a voluntary petition (the “Petition’’) be filed by the Company under
the provisions of Title 11 of the United States Code (the “Bankruptcy Code”); and it is further ~

 

RESOLVED, that the Company shall execute and file all petitions, schedules, lists
and other papers or documents, and to take any and all action, that are reasonable, advisable,
‘expedient, convenient, necessary or proper to obtain such relief under the Bankruptcy Code; and
it is further

RESOLVED, that each of the Chief Executive Officer and the Chief Financial
Officer of the Company (each a “Designated Officer and collectively, the “Designated Officers”)
be, and hereby is, acting alone, authorized, directed and empowered, on behalf of and in the
name of the Company (i) to execute and verify the Petition as well as all other ancillary
documents and to cause the Petition to be filed with the United States Bankruptcy Court for the
District of Delaware and to make or cause to be made prior to the execution thereof any
modifications to the Petition or ancillary documents, and (ii) to execute, verify and file or cause
to be filed all petitions, schedules, lists, motions, applications and other papers or documents
necessary or desirable in connection with the foregoing; and it is further

_ RESOLVED, that the law firm of Young Conaway Stargatt & Taylor, LLP

~ (“Young Conaway’ ”) be, and hereby is, authorized and empowered to represent the Company aststi—s

its general bankruptcy counsel, and where applicable, its special conflicts counsel, and to
represent and assist the Company in carrying out its duties under Title 11 of the United States
Code, and to take any and all actions to advance the Company’s rights, including the preparation
of pleadings and filings in the bankruptcy case commenced by the Company; and in connection
therewith, the Designated Officers are hereby authorized and directed to execute appropriate
retention agreements, pay appropriate retainers prior to and immediately upon the filing of the
bankruptcy case, and to cause to be filed an appropriate application for authority to retain the
services of Young Conaway; and it is further

RESOLVED, that Jefferies & Company, Inc. (“Jefferies”), be, and hereby is,
authorized and empowered to serve as financial advisor to the Company with regard to the
bankruptcy case commenced by the Company; and in connection therewith, the Designated
Officers are hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers prior to and immediately upon the filing of the bankruptcy case, and to

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cause to be filed an appropriate application for authority to retain the services of Jefferies; and it
is further

RESOLVED, that Epiq Bankruptcy Solutions, LLC (“Epiq”) be, and hereby is,
authorized and empowered to serve as the notice, claims, solicitation and balloting agent in
connection with the bankruptcy case commenced by the Company; and in connection therewith,
the Designated Officer is hereby authorized and directed to execute appropriate retention
agreements, pay appropriate retainers, if required, prior to and immediately upon the filing of the
bankruptcy case, and to cause to be filed an appropriate application for authority to retain the
services of Epiq; and it is further

RESOLVED, that the Designated Officers be, and hereby are, authorized and
directed to employ any other individual and/or firm as professionals or consultants or financial
advisors to the Company as are deemed necessary to represent and assist the Company in
carrying out its duties under Title 11 of the United States Bankruptcy Code, and in connection
therewith, the Designated Officers are hereby authorized and directed to execute appropriate
retention agreements, pay appropriate retainers, if required, prior to and immediately upon the
filing of the bankruptcy case, and to cause to be filed an appropriate application for authority to
retain the services of such firms; and it is further

RESOLVED, that the officers of the Company be, and hereby are, authorized and
empowered to obtain post-petition financing according to terms negotiated, or to be negotiated,
by the management of the Company, including under debtor-in-possession credit facilities or
relating to the use of cash collateral; and to enter into any guarantees and to pledge and grant
liens on its assets as may be contemplated by or required under the terms of such post-petition
financing or cash collateral agreements; and in connection therewith, the officers of the
Company are hereby authorized and directed to execute appropriate loan agreements, cash
collateral agreements and related ancillary documents; and it is further

RESOLVED, that to the extent authorized by the Board of Directors, each and
every officer of the Company be, and each of them acting alone hereby is, authorized, directed
and empowered from time to time in the name and on behalf of the Company, to (a) take such

~ further actions and execute and deliver such certificatés, instruments, guarantiés, notices and
documents as may be required or as such officer may deem necessary, advisable or proper to
carry out the intent and purpose of the foregoing resolutions, including the execution and
delivery of any security agreements, pledges, financing statements and the like, and (b) perform
the obligations of the Company under the Bankruptcy Code, with all such actions to be
performed in such manner, and all such certificates, instruments, guaranties, notices and.
documents to be executed and delivered in such form, as the officer performing or executing the
same shall approve, and the performance or execution thereof by such officer shall be conclusive
evidence of the approval thereof by such officer and by the Company; and it is further .

RESOLVED, that all of the acts and transactions relating to matters contemplated
by the foregoing resolutions of management and the Board of Directors, in the name and on
_ behalf of the Company, which acts would have been approved by the foregoing resolutions
‘except that such actions were taken prior to the execution of these resolutions, are hereby in all
respects confirmed, approved and ratified.

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2009.

The foregoing Resolutions are approved on and as of this 0 aay of March,

 

Michael E. Alger

 

David Finnigan

MeL.

Patrick Lawlor

 

    

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Timothy R.J. Stubbs

 

Lynn R. Skillen

 

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2009.

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The foregoing Resolutions are approved on and as of this 1a" day of March,

 
   

Michael E. Alger

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David Finnigge /

Patrick Lawlor

22s

M. Steven Lift”

 

 

Timothy R.J. Stubbs

bin Bb

Lynft R. Skillen

 

 

 

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INDALEX HOLDINGS FINANCE, INC.
SECRETARIAL CERTIFICATE

The undersigned, Patrick Lawlor, Secretary of Indalex Holdings Finance, Inc. (the

“Company’”), a Delaware corporation, hereby certifies as follows:

Ww

1. I am duly qualified and elected Secretary of the Company and, as such, am
- familiar with the facts herein certified, and I am duly authorized to certify
the same on behalf of the Company.

2. Attached hereto is a true and complete copy of the Resolutions of the
Directors of Indalex Holdings Finance, Inc. (the “Resolutions”)
unanimously adopted by the disinterested directors of the Company at a
special meeting of the Board of Directors of Indalex Holdings Finance,
Inc. duly called and at which a quorum was present on March2?, 2009.

3. The Resolutions s have not been amended, altered, annulled, rescinded or
revoked and are in full force and effect as of the date hereof. There exist
no other subsequent resolutions of the Board of Directors of the Company
relating to the matters set forth in the Resolutions.

IN WITNESS WHEREOF, the undersigned has executed this certificate as of the
day of March 2009. Px.

Patrick Lawlor

Chief Financial Officer, Treasurer and
Secretary

Indalex Holdings Finance, Inc.

 

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